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                     UNITED STATES DISTRICT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )       Case No. 21-cr-00105-JMC
                                 )
HENRY PHILLIP MUNTZER,           )
                                 )
                                 )
               Defendant         )
                                 )




           DEFENDANT’S MOTION TO VACATE TRIAL DATE
                      AND BRIEFING SCHEDULE




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      NOW comes Defendant Henry Muntzer by and through his counsel of

record, William L. Shipley, Esq., respectfully files this motion to vacate the

currently set trial date and motion schedule.

      Attorney Shipley is currently in the second Oath Keeper’s trial which is

not set to conclude until the end of the January 2023. Attorney Shipley is also

set for trial in a civil matter in Hawaii Circuit Court, Paguriagan v. C&C

Farmlands, on February 27, 2023, a matter first filed in 2016, and repeatedly

continued as a result of COVID.

      After several requests for discovery, to-date, Attorney Shipley has not

been able to obtain discovery materials that had been produced by the

government.

      On January 6, 2023, Attorney Shipley conferred with Government

counsel Brian Brady, Michael Gordon, and Alexis Loeb who addressed the

discovery issues. Government counsel informed the undersigned they do not

oppose vacating and continuing the trial date due to the discovery issue and

Attorney Shipley’s schedule.

      Due to Attorney Shipley’s case load and issues obtaining discovery,

Defendant Muntzer wishes to vacate the current motions and trial schedule,

and set a status conference for purposes of setting new dates. Undersigned

will confer with government counsel regarding potential dates for trial and

motions.



Dated: January 6, 2023                Respectfully submitted,



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